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             In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                       Case No. 14-475V
                                   Filed: September 4, 2014

* * * * * * * * * * * * * * **
MARLON SPORER,                             *       UNPUBLISHED
                                           *
              Petitioner,                  *
                                           *       Special Master Gowen
v.                                         *
                                           *
SECRETARY OF HEALTH                        *       Tetanus Toxoid (TT) Vaccine;
AND HUMAN SERVICES,                        *       Right Arm Injury; Sterile Abscess;
                                           *       Conceded.
              Respondent.                  *
* * * * * * * * * * * * * * **
Gerard Ryan, Kelner & Kelner, New York, NY, for petitioner.
Julia McInerny, United States Department of Justice, Washington, DC, for respondent.

                       UNPUBLISHED RULING ON ENTITLEMENT 1

         On June 4, 2014, Marlon Sporer (“petitioner”) filed a petition for compensation under the
National Vaccine Injury Compensation Program (“the Program”). 2 Petitioner alleges that he
suffered from the Table Injury of anaphylaxis and related sequelae, or that, in the alternative, he
suffered from an injury that was caused-in-fact by a Tetanus Toxoid (“TT”) vaccine he received
in his right arm on April 6, 2009. Petition at 1.

       On September 3, 2014, respondent filed a report pursuant to Vaccine Rule 4(c) in which
she concludes that “compensation is appropriate in this case based upon the medical record

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post this decision on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002 § 205, 44 U.S.C. § 3501 (2006). In
accordance with the Vaccine Rules, each party has 14 days within which to request redaction “of
any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b). Further, consistent with the rule requirement, a motion for redaction must include a
proposed redacted decision. If, upon review, the undersigned agrees that the identified material
fits within the requirements of that provision, such material will be deleted from public access.
2
 The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual
section references will be to 42 U.S.C. § 300aa of the Act.


                                                  1
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showing that petitioner’s right arm injury and sterile abscess were caused-in-fact by the TT
vaccination administered on April 6, 2009.” Respondent’s Report at 4.

       In view of respondent’s position and of the undersigned’s review of the entire record, see
§ 300aa-13(a)(1), the undersigned finds that petitioner is entitled to compensation for an injury
that was caused-in-fact by a covered vaccine. 42 C.F.R. § 100.3(a)(XIV); Althen v. Sec’y of
Health & Human Servs., 418 F.3d 1274 (Fed. Cir. 2005). A separate damages order will issue.


       IT IS SO ORDERED.

                                             s/ Thomas L. Gowen
                                               Thomas L. Gowen
                                               Special Master
